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                                                                 FILED
                                                            IN CLERK'S OFFICE
  Andrew Kosiba
  Plaintiff in Propria Persona                          * DEC - 8 2021          ★
  33 Neal Path
  South Setauket, NY 11720                                    ISLAND OFFICE
  ak764@protonmail.com




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK
                  225 Cadman Plaza East, Brooklyn, NY 11201

  ANDREW KOSIBA

        PLAINTIFF

                                            CASE NO.

  CATHOLIC HEALTH SYSTEMS OF
  LONG ISLAND, INC.                                            BROWN,J.
        DEFENDANT
                                        /                       LINDSAY,MJ.


   COUNT I - COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

               UNDER THE AMERICANS WITH DISABILITIES ACT

        Plaintiff, Andrew Kosiba, sues the defendant, CATHOLIC HEALTH
  SYSTEMS OF LONG ISLAND, INC., for discrimination on the basis of disability,
  and for prohibited actions taken on the basis ofthis disability under the "regarded
  as" prong: and for declaratory and injunctive relief under Title I of the Americans
  with Disabilities Act as implemented under 29 CFR Part 1630, et sequitur, and
  alleges the following:

                           JURISDICTION AND VENUE
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  1.    This court has original and exclusive jurisdiction under Title I of the
  Americans with Disabilities Act of 1990 and the Americans with Disabilities Act
  Amendments Act of 2008; 42 U.S.C. §12101 and 42 U.S.C. §12112(a),(b)and
  (d)(4) as it pertains to "Discrimination"; as implemented by 29 CFR Part
   1630.14(b)(3), (c) & (d) as it pertains to adverse employment actions,
  employers and medical examinations and interventions.

  2.    Venue is proper in the Eastern District of New York pursuant to 28 U.S.C.
  §1391(b)(2) because Plaintiff resides in this District and a substantial part of the
  events or omissions giving rise to the claims occurred in this District.

  3.    The incidents and facts giving rise to this complaint have occurred within
  the last one hundred eighty days. The plaintiff has commenced a complaint
  against the defendant with the Equal Opportunity Employment Commission
 (EEOC)on or about the date of October 7, 2021. The case is pending and the
  EEOC does not currently have the ability to schedule any time for a meeting, but
  is conducting an investigation with plaintiff's employer.

                                      PARTIES

  4.    Plaintiff, Andrew Kosiba, resides in Suffolk County, New York at the
  address of 33 Neal Path; South Setauket and is a qualified individual with a
  disability within the meaning of the ADA. The plaintiff is an employee of the
  defendant, which is a "covered entity" within the meaning of the Act.

  5.    The defendant's principal place of business is located at 110 Bi-County
  Blvd; Farmingdale, New York 11735.
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                                PLAIN STATEMENT

 6.    The defendant regards the plaintiff as having a disability and the plaintiff
  has been subjected to adverse employment actions prohibited under 29 CFR §
  1630.2 (g) (iii) as a result of the defendant perceiving a physical or mental
 impairment in the plaintiff.

 7.     The reactions and perceptions of the defendant and its employees while
 interacting with or working with the plaintiff have demonstrated the defendant's
  perception that the plaintiff has an impairment of the immune system and an
 impairment of the respiratory system.

 8.    Defendant regards plaintiff as disabled and has mis-classified him as a
  potential or actual source of contagious disease by assuming plaintiff has an
 impairment of the immune system and an impairment of plaintiff's respiratory
 system without any individualized assessment establishing that he needs any
 "accommodations"(mitigation measures)or is a direct threat.
 9.    The defendant is requiring the plaintiff to accept its "accommodations"
 (mitigation measures) or suffer the adverse employment action of being
 terminated.

 10.   Defendant's policy requires plaintiff's participation and defendant will
 coerce, threaten or retaliate against the plaintiff with adverse employment
 actions if plaintiff does not comply.

 11.   The defendant took adverse employment actions because of perceiving
 the plaintiff as impaired.

 12. The defendant has adopted a new and discriminatory policy that
 "mandates" accommodations such as intravenous injections which are under
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  Emergency Use Authorization ("EUA") and other "mitigation measures" without
  acknowledging plaintitf's right of refusal.

  13.   Apparently the defendant regards all unvaccinated employees as having
  a condition (being unvaccinated), and apparently perceives this condition
  affecting the employee's "respiratory" and "immune" systems.

  14. The defendant is not basing its perception of this condition on any medica
  diagnosis or individualized assessment.

  16. The affirming action of regarding plaintiff as impaired and disabled is that
  plaintiff has suffered adverse employment actions including the coercive,
  threatening, and intimidating demand to vaccinate or be terminated because of
  being regarded as disabled.

                              STATEMENTS OF FACT

  16.   The plaintiff is regarded as having a disability by the defendant.

  17.   The plaintiff therefore has a disability under the protection of the ADA.

  18.   The plaintiff was an employee of the defendant and is a qualified individual
  with a disability.

  19.   The plaintiff does not have an impairment but is being treated by the
  defendant as if plaintiff has an impairment.

  20.   The plaintiff duly noticed the defendant that he was claiming protection
  under the ADA because of being regarded as disabled.

  21.   The defendant took adverse employment actions because of perceiving
 the plaintiff as impaired.
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  22. The defendant has made a record of plaintiff's disability by mis-classifying
  the plaintiff as having an impairment of the immune system and an impairment
  of the respiratory system.

  23. The plaintiff may proceed under the "regarded as" prong and this court has
  jurisdiction under the "regarded as" prong of the ADA.

  24. The complaint thereby satisfies the criteria for stating a prima facie cause
  of action for these reasons, along with the fact that the defendant has made a
  record of such disability as further alleged herein.

  25. The ADA also protects individuals such as the plaintiff for whom submitting
  to certain       accommodation              measures would   create impairments. The
  accommodations include, but are not limited to, taking injections under
  Emergency Use Authorization (EUA)which are being promoted as vaccines but
  which are not legally vaccines; submitting to repetitive, non-job-related medical
  examinations (nasal tissue testing, temperature checks); being placed under
  isolation, segregation and quarantine without due process; using medical
  devices for mitigation measures'"(masks); disclosing plaintiff's medical records
  and history for non-job-related matters and participating in clinical trials and
  epidemiological experiments as a condition of employment.

  26.    If the plaintiff had previously made at least one requests for reasonable
  modifications, but has since withdrawn such requests as he only requires to be
  left alone to do his job without being harassed, coerced and discriminated
  against based upon disability.

  27.    In fact, defendant's "COVID-19" policies impair the plaintiff from
  performing his employment duties because the defendant will not permit plaintiff


  'Section 201(h) Food, Drug & Cosmetic Act

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  to do his job without first submitting to the defendant's accommodations
 ("mitigation measures").

  28.   Defendant's policies also violate the plaintiff rights to medical privacy and
  informed consent.

  29.   Defendant and its policies failed to advise the plaintiff of the absolute risks
  and absolute benefits for accepting the accommodation of taking injections
  under EUA guidelines,for the contagious disease that the defendant regards the
  plaintiff as having.

  30.   Defendant also failed to advise the plaintiff of his right to accept or reject
  such accommodation as it is falls under an "emergency use authorization"
  period.

  31.   Additionally, defendant failed to advise the plaintiff that no vaccines, which
  have been approved by the Food & Drug Administration, are commercially
  available to the plaintiff, or are yet in production.

  32.   Additionally, the so-called "vaccines" that are being promoted as vaccines
  do not actually prevent transmission or infection of any contagious disease,
  specifically regarding the so-called "COVID-19" or "SarsC0V2" purported
 "diseases".

  33.   Additionally the employer has failed to identify or propose other
  accommodations which do not require medical devices or injections.

  34.   The defendant's responses to the requests made by the plaintiff to cease
 the discrimination and harassment were in fact non-responsive, a true and
  correct copy of each is included with Exhibit A.

 35.    A "pandemic" or"emergency" is not a legal defense for violating rights. The
 court should be advised that the defendant believes that its legal violations are

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  justified by claiming there is a "pandemic". This is not a legal defense, just like
  ignorance of the law is not a legal defense.

  36. The plaintiff requests that the court take judicial notice of the official
  mortality rates of the State of New York and the United States for the years from
  2017, 2018, 2019 and 2020 in which the standard deviation is zero, the very
  definition of no verifiable "pandemic".

  37.   No laws have changed that would create either a new duty of care or a
  new insurable risk for the defendant; and no new laws have created any new
  legal duty or obligation for an employer to violate the medical privacy rights oi
  anyone.

  38. Certain employees of the defendant present with symptoms of mental
  illness. The court should also note that the defendant's employees: Tony
  Pellicano, Director of HR, Chritine Bracco, the Director of HR, Kim Kranz,
  President, along with Mary Frawley, Director of Patient Services and also
  plaintiffs supervisor Elizabeth Nallan-Potter each present with symptoms of
  Factitious Disorder by Proxy as defined in the Diagnostic and Statistical Manual
  for Mental Health. Fifth Edition. People with this disorder falsely claim another
  person as sick, injured or having problems functioning, claiming that medical
  attention is needed. It appears that these employees have each made such a
  determination of the plaintiff and engaged in conduct which has given rise to this
  complaint and each may not be competent to serve in their official capacity
  because of this mental illness.

  39.   The plaintiff has been employed continuously by the defendant for
  approximately twenty years.
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  40.   In March of 2021, the defendant began regarding the plaintiff as having a
  disability of an impaired immune system and an impaired respiratory system;
  and began responding to the plaintiff as if he was carrying a contagious disease

  41.   Defendant has never conducted the required individualized assessment to
  determine whether or not the plaintiff is or was ever a direct threat to anyone.

  42.   On November 28, 2021 the defendant terminated the plaintiffs
  employment for attempting to exercise and enjoy his rights that are protected by
  the Americans with Disabilities Act.

  43. The defendant had expressed to the plaintiff that regarding these
  accommodations, the plaintiff's right to informed consent was not violated
  because he could quit at any time. This clearly violates 29 CFR Part 1630.9(d).

  44.   Plaintiff received a memo dated September 1, 2021 from Anthony
  Pellicano, and Dr. Jason Golbin, titled "Covid-19 Vaccinations". A true and
  correct copy is included as part of Exhibit A.

  45. This memo instructed plaintiff to undertake accommodations for his
  perceived impairments such as getting tested bi-weekly and undertaking an
  injection process.

  46.   On September 27, 2021 Plaintiff attempted to find a resolution with
  Christine Bracco, Director of HR, by sending a "Notice of Employment
  Discrimination and Retaliation Based Upon Disability", which asked her to
  address the plaintiff's request for due process and concerns regarding
  discrimination based on a perceived disability. Plaintiff met with Christine
  Bracco, Director of HR on September 28, 2021 and she told the plaintiff there
  was nothing else they could do and her hands were tied.
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  47.   Plaintiff notified the defendant that he was documenting the discrimination;
  and encouraged Defendant to review the NY Benchbook Guide compilation o1
  Public Health laws and the due process they require, hoping to draw their
  attention to the requirement for an actual medical diagnosis prior to prescribing
  injections and mitigation measures. No response was given by the defendant

  48.      59. On October 5, 2021 Plaintiff filed a Charge of Discrimination and
  Harassment with the EEOC via email and certified mail.

  49.   On November 17, 2021 Plaintiff received an email form Christine Bracco,
  Director of Human Resources and Tony Pellicano, Chief HR Officer, stating, if
  Plaintiff doesn't receive an injection by November 22, 2021 he will be placed on
  leave without pay for 2 weeks. After that time if the plaintiff hasn't submitted to
  the accommodation of taking medication, the so-called "COVID-19 Vaccination,
  he would be terminated. The email threatens plaintiff with the retaliation o1
  docking his pay and being terminated if he does not submit to this policy.

  50.    Defendant's memo demonstrated the defendant's perception that the
  plaintiff has an impairment of the immune system and an impairment of the
  respiratory system and considers the plaintiff as a potential or actual source oi
  a contagious disease without any individualized assessment establishing thai
  plaintiff actually needs any accommodations or is a direct threat; and that
  defendant is taking adverse employment actions because of this perceived
  disability.

  51.   On November 28, 2021 the plaintiff returned from his vacation and
  received a letter from Christine Bracco, Director of HR,that he has been placed
  on unpaid leave until December 6, 2021 and his employment will be terminated
  if he fails to receive the experimental injection.



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   52. On November 29,2021, Plaintiff responded to Christine's letter in an email
  (Exhibit A) explaining that he has no intention of resigning his position. Taking
   an experimental injection was never a condition of his employment and he is
   ready, able and willing to return to work. Plaintiff has made great efforts to timely
   notice the defendant that he is both fit for service and has complied with all
   requests for response.

   53.   In addition, defendant is clearly classifying employees by injection status,
   making a record of this perceived condition and threatening adverse
   employment actions against employees who have the condition of being
   unvaccinated.

   54.   Defendant's policies also violate the plaintiff rights to medical privacy and
   informed consent.

   55.   Defendant's policies fail to advise the plaintiff of the risks and benefits for
   accepting the accommodation of taking injections for the contagious disease
   that the defendant regards the plaintiff as having or potentially having.

   56.   Defendant fails to advise the plaintiff of his right to accept or reject such
   accommodation as it is falls under an "emergency use authorization" period.

   57.   Additionally, defendant fails to advise the plaintiff that no vaccines have
   been approved by the Food & Drug Administration which are commercially
   available to the plaintiff, or are yet in production.

   58.   Additionally, the injections which are being promoted as vaccines do nol
   prevent transmission or infection of any contagious disease, specifically
   regarding the so-called "COVID-19" or "SARS-Cov2" purported "diseases".




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   59.   Plaintiff was terminated as of November 22, 2021,for being unvaccinated
   There is no end-date when defendant will not consider plaintiff's unvaccinated
   classification as warranting termination.

   60. The defendant has a duty of care to aid and encourage the plaintiff in
   exercising and enjoying his rights under the ADA. The defendant has thereby
   neglected its duty of care.

   61.   Defendant's new policies are illegal because they are discriminatory and
   constitute adverse employment actions.

   62.   Defendant has used policies and procedures that are discriminatory,
   harassing, retaliatory, intimidating, threatening, coercive. The policies interfere
   with ADA rights and constitute adverse employment actions and this is
   prohibited under the ADA.

   63.   Specifically, the defendant has failed to ensure the equal access or
   accessibility of the premises where the plaintiff is assigned to work. The plaintiff
   has thereby been prevented from enjoying equal access and the benefits o1
   employment enjoyed by other employees.

   64.   The defendant continued without cessation to discriminate against the
   plaintiff based upon disability as demonstrated by the communications sent to
   the plaintiff by the defendant. All written communications are attached as Exhibit
   A.

   65.   Such discrimination persists notwithstanding the existence of readily
   available, well-established, accommodations, including, but not limited to
   refraining from engaging with the plaintiff in any conversation pertaining to the
   application of such mitigation measures and/or allowing the plaintiff to work in a



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   position that would eliminate the need for the accommodation measures offered
   by the defendant.

   EUA Medical Interventions and Clinical Trials

   66.   The defendant has failed or refused to advise the plaintiff of the absolute
   risks or absolute benefits of such interventions and failed or refused to advise

   the plaintiff that he has a choice to accept or refuse such interventions (EU>^
   injections, masking, submitting tissue samples)as set forth in 21 USC §360bbb-
   3 et seq.

   67.   Defendant also failed or refused to advise the plaintiff of his right to accept
   or reject such accommodation as it is falls under an "emergency use
   authorization" period and the plaintiff is not required to participate in clinical trials,
   studies or epidemiological experiments as a condition for employment or as an
   accommodation measure.

   68.   Additionally, defendant fails to advise the plaintiff that no vaccines that
   have been approved by the Food & Drug Administration are commercially
   available to the plaintiff, or are yet in production.
   69.   Additionally, the so-called vaccines that are being promoted as vaccines
   do not prevent transmission or infection of any contagious disease, specifically
   regarding the so-called "COVID-19" or "SarsC0V2" purported "diseases".
   70.   Additionally, the employer has not proven that there are no other
   accommodations available which do not require injections or medical devices.
   71.   Since defendant is unfortunately attempting to enforce policies even the
   federal government cannot, it naturally falls on the employer to assume the
   responsibilities of satisfying informed consent and rights at all levels.




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   FDA defines masks when used for mitigation purposes as a medical
   device.

   72.   Plaintiff requests that this court take judicial notice of Section 201(h)of the
   Food, Drug and Cosmetic Act and its Final Guidance titled, "Classification of
   Products as Drugs and Devices & Additional Product Classification Issues
   Guidance for Industry and FDA Staff", published in September of 2017, in which
   the Food & Drug Administration defines wearing a mask for mitigation purposes
   as a medical device and the application of a medical device or contrivance. A
   true and correct copy of this is included as Exhibit B.
   73. Plaintiff further requests judicial notice of the fact that the Food & Drug
   administration has never approved wearing such face masks, but only
   "authorized" them without any supporting medical or clinical data establishing
   any medical necessity or efficacy for wearing such contrivances.




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              74.   ALLEGATIONS OF DEFENDANTS VIOLATIONS
              OF TITLE I OF THE ADA,42 U.S.C.§12101 etsequitur.

   75. Plaintiff re-aileges each of the statements offact herein and the allegations
   contained in the preceding paragraphs and the plaintiff's supporting affidavit
   which is also re-alleged and incorporated herein by reference.

   76. Title I of the ADA prohibits employment discrimination on the basis ot
   disability in all aspects of employment.

              § 1630.4 Discrimination prohibited.
              (a) In general -(1) It is unlawful for a covered entity to discriminate
   on the basis of disability against a qualified individual in regard to:
              (i) Recruitment, advertising, and job application procedures;
                (ii) Hiring, upgrading, promotion, award of tenure, demotion,transfer,
   layoff, termination, right of return from layoff, and rehiring;
             (iii) Rates of pay or any other form of compensation and changes in
   compensation;
               (iv) Job assignments, job classifications, organizational structures,
   position descriptions, lines of progression, and seniority lists;
              (v) Leaves of absence, sick leave, or any other leave;
              (vi) Fringe benefits available by virtue of employment, whether or not
   administered by the covered entity;
              (vii) Selection and financial support for training, including
   apprenticeships, professional meetings, conferences and other related
   activities, and selection for leaves of absence to pursue training;
              (viii) Activities sponsored by a covered entity, including social and
   recreational programs; and
              (ix)Any other term, condition, or privilege of employment.


   No Evidence of Direct Threat

   77.   Defendant regards plaintiff as disabled with an impaired respiratory
   system and an impaired immune system; and reacts to and perceives plaintiff

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       as a potential or actual source of contagious disease without any individualized
       assessment.

       78. The very nature of discrimination is to take action based upon an
       unjustified negative attitude or opinion that is not based upon factual evidence
       The defendant expresses the attitude toward the plaintiff as if the plaintiff is a
       direct threat to others, yet has never complied with any of the individual
       assessment criteria, to wit:

                     29 CFR Sections 1630.2(r):
1 "Dirlct Threat means a significant risk of substantial harm to the health or safety o1
       the individual or others that cannot be eliminated or reduced by reasonable
       accommodation. The determination that an individual poses a 'direct threat'shall
       be based on an individualized assessment of the individual's present ability to
       safely perform the essential functions ofthe job. This assessment shall be based
       on a reasonable medical iudament that relies on the most current medical
       knowledge and/or on the best available obiective evidence. In determining
       whether an individual would pose a direct threat, the factors to be considered
       include:

                  (1)The duration of the risk;
                  (2)The nature and severity of the potential harm;
                  (3)The likelihood that the potential harm will occur; and
                  (4)The imminence of the potential harm."


       79.   The defendant has made no meaningful efforts to remediate itself on the
       law, and has only referred to statements made on the CDC's website and the
       EEOC's website that mention the ADA, but this clearly does not qualify as an
       individualized medical assessment.

       Prohibited Medical Examinations and inquiries

       80.   Among other things. Title I prohibits employers (the defendant) from
       requiring medical examinations or making disability-related inquiries o1

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       employees unless such examination or inquiry is shown to be job-related and
       consistent with business necessity; see, 42 U.S.C. §12112(d)(4); 29 CFR
       §1630.14(c).

       81.   An employer is entitled only to the information necessary to determine
       whether the employee can perform the essential functions of the job with or
       without reasonable accommodations and the defendant has failed to identify any
       set of facts that would qualify under this limitation.

9 §1^30.13(b) Prohibited medical examinations and inquiries.
1 (b) Examination or inquiry of employees. Except as permitted by § 1630.14, it is
       unlawful for a covered entity to require a medical examination of an employee
       or to make inquiries as to whether an employee is an individual with a disability
1      or as to the nature or severity of such disability.
1 (c) lamination of employees. A covered entity may require a medical examination
      (and/or inquiry) of an employee that is job-related and consistent with business
      necessity. A covered entity may make inquiries into the ability of an employee to
       perform job-related functions.


       82.   Defendant has never conspicuously disclosed that complying with an
       injection requirement, repetitive tissue-testing requirement, quarantining without
       due process requirement and a facial masking requirement are an essential
       function of the job of PhysicalTherapist; and it was never previously an
       essential function of plaintiff's job.
       83. The plaintiff must satisfy the PhysicalTherapist job requirements for
       educational background, employment experience, skills, licenses, and any other
       qualification standards that are job related; and be able to perform those tasks
       that are essential to the job, with or without reasonable accommodation.^



       1.    %ttps://w\vw.eeoc.gov/publications/ada-your-responsibilities-employer

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   Generally speaking employees that have been performing their essential job
   functions prior to the employer regarding them as disabled, easily meet this
   requirement.


   84. The plaintiff's remedy, with assistance from the court, is to request the
   defendant to terminate Its perceptions that the plaintiff's unvaccinated
   condition includes its associated assumptions of regarding the plaintiff's
   respiratory and immune system as impaired. The perception thus being
   eliminated, the employee returns to his antecedent status quo employment
   status.



   Medical Records are Confidential

   85.   Defendant appears to be widely sharing its non-job-related medical
   classification of the plaintiff with many employees without any regard to
   confidentiality.


               § 1630.13 continues:
               (1) Information obtained under paragraph (c) of this
               section regarding the medical condition or history of any
               employee shall be collected and maintained on separate
               forms and in separate medical files and be treated as a
               confidential medical record, except that:
               (i) Supervisors and managers may be informed
               regarding necessary restrictions on the work or duties of
               the employee and necessary accommodations;
               (ii) First aid and personnel may be informed, when
               appropriate, if the disability might require emergency
               treatment; and
               (iii) Government officials investigating compliance with
               this part shall be provided relevant information on
               request.

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              (2) Information obtained under paragraph (c) of this
              section regarding the medical condition or history of any
              employee shall not be used for any purpose inconsistent
               with this part.


   86. The defendant is widely sharing its classification of perceiving plaintiff as
   disabled or impaired and unvaccinated with many employees who are tasked
   with assessing plaintiff's use of the mitigation measures; which leads to co-
   workers treating plaintiff as impaired and harassing plaintiff with repetitive emails
   and intimidating interactions.

   87.   Defendant is widely sharing its classification of plaintiff as unvaccinated
   with numerous employees who are tasked with recording plaintiff's vaccination
   status; which leads to harassing plaintiff with repetitive emails and threats ot
   termination.

   88.   Plaintiff was terminated on November 22, 2021 on the basis of being
   unvaccinated. These factors are based solely upon defendant's perception o1
   plaintiffs physical condition.
   89.   Plaintiff is also repetitively asked to disclose his injection status without
   any notice regarding the data retention policy or who receives the data and for
   what purpose.

   Defendant is not running a voluntary health program.

               § 1630.14
              (d) Other acceptable examinations and inquiries. A
              covered entity may conduct voluntary medical
              examinations and activities, including voluntary medical
              histories, which are part of an employee health program
              available to employees at the work site.
              (1) Employee health program. An employee health
              program, including any disability-related inquiries or

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               medical examinations that are part of such program,
               must be reasonably designed to promote health or
              prevent disease. A program satisfies this standard if it
              has a reasonable chance of improving the health of, or
              preventing disease in, participating employees, and it is
              not overly burdensome, is not a subterfuge for violating
              the ADA or other laws prohibiting employment
              discrimination, and is not highly suspect in the method
              chosen to promote health or prevent disease. A program
              consisting of a measurement, test, screening, or
              collection of health-related information without providing
              results, follow-up information, or advice designed to
              improve the health of participating employees is not
              reasonably designed to promote health or prevent
              disease, unless the collected information actually is used
              to design a program that addresses at least a subset of
              the conditions identified. A program also is not
              reasonably designed if it exists mainly to shift costs from
              the covered entity to targeted employees based on their
              health or simply to give an employer information to
              estimate future health care costs. Whether an employee
              health program is reasonably designed to promote
              health or prevent disease is evaluated in light of all the
              relevant facts and circumstances.

              (2)Voluntary. An employee health program that includes
              disability-related inquiries or medical examinations
              (including disability-related inquiries or medical
              examinations that are part of a health risk assessment)
              is voluntary as long as a covered entity:
              (i) Does not require employees to participate;
              (ii) Does not deny coverage under any of its group health
              plans or particular benefits packages within a group
              health plan for non-participation, or limit the extent of
              benefits (except as allowed under paragraph (d)(3) of
              this section)for employees who do not participate;
              (iii) Does not take any adverse employment action or
              retaliate against, interfere with, coerce, intimidate, or
              threaten employees within the meaning of Section 503

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               of the ADA,codified at 42 U.S.C. 12203 and 29 CFR Part
               1630.14(c).


   90.    Defendant has never conspicuously disclosed that the discriminatory
   policy is a voluntary health program.
   91.    Defendant has never provided an absolute risk/absolute benefit analysis
   of the discriminatory policy; this disqualifies the discriminatory policy as a health
   program by design.
   92.    Defendant has interfered with plaintiff's enjoyment of his ADA rights which
   lends credence to the allegation that the discriminatory policy is a subterfuge for
   violating the ADA or other laws prohibiting employment discrimination.
   Limiting, Segregating and Ciassifying
   93.    Defendant has violated and continues to violate Title I of the ADA, 42
   U.S.C. §12112(b)implemented by 29 CFR Parts 1630.5.
   § 1630.5 Limiting, segregating, and classifying.
   It is unlawful for a covered entity to limit, segregate, or classify a job applicant or
   employee in a way that adversely affects his or her employment opportunities or
   status on the basis of disability.


   94.    Defendant has violated and continues to violate Title I of the ADA, 42
   U.S.C. §12112(b)implemented by 29 CFR Parts 1630.5.
   95.    Defendant has mis-classified plaintiff as"disabled" under the "regarded as"
   prong and made a "record of this perceived disability.
   96.    Defendant classified the plaintiff as unvaccinated and has discriminated
   and retaliated against plaintiff upon this basis.
   97.    Defendant mis-classified the plaintiff based upon perceived disability
   because it refused to acknowledge plaintiff's enjoyment of his rights under the
   ADA.


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   98.    Defendant        terminated   plaintiff's   employment   based   on   these
   classifications.

   99. The law prohibits the defendant from imposing any accommodation
   measures upon the plaintiff, and yet the defendant has undertaken several
   adverse employment actions to intimidate, harass, coerce and retaliate against
   the plaintiff for not accepting defendant's accommodations and otherwise
   exercising and enjoying his rights under the ADA, specifically, 29 CFR Part
   1630.9(d).

   100. If the plaintiff had previously made at least one request for reasonable
   modifications, plaintiff has since withdrawn such request.

   § 1630.9
   (d) An individual with a disability is not required to accept an accommodation,
   aid, service, opportunity or benefit which such qualified individual chooses not
   to accept.


   101. Defendant offered mitigation measures as accommodations to the
   perceived disability and plaintiff chose not to accept.

   102. Defendant limited the accommodation measures^, such as examinations,
   disclosures of medical records that were notjob-related, experimental injections,
   medical interventions, equipment or products, to only those chosen by the
   defendant.

   103. The plaintiff is not required to accept any accommodations and has not
   waived any rights to informed consent. The defendant had expressed to the
   plaintiff that regarding these accommodations, the plaintiff's right to informed



    29 CFR Part 1630.2a)(5)(i)


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   consent was not violated because he could quit at any time. This clearly violates
   29 CFR Part 1630.9(d).

   104. The defendant has not indicated that the accommodations offered are

   reasonable or necessary to enable the plaintiff to perform essential functions o1
   the employment position held.

   105. The plaintiff explained and disclosed to the defendant that the
   accommodations offered by the defendant would create a disability for the
   plaintiff that substantially limits one or more major life activities, including, but
   not limited to: breathing, normal cell growth, normal immune system functioning
   and communications.

   106. The defendant has never expressed that plaintiff's refusal to accept such
   accommodations would have fundamentally altered the work environment or
   caused any undue burden upon the defendant. In fact, the defendant's policies
   regarding the so-called forced medical examinations and interventions have
   already fundamentally altered the work environment.

   107. In fact, the defendant is not required to provide any accommodation under
   the "regarded as" prong.

   § 1630.9
   (e)A covered entity... is not required to provide a reasonable accommodation to
   an individual who meets the definition of disability solely under the "regarded as"
   prong (§ 1630.2(g)(1)(iii)).
   108. However, the list of adverse employment actions taken by the defendant
   against the plaintiff such as harassing the plaintiff with coercive and threatening
   emails; refusing to process plaintiffs discrimination claims; classifying the plaintiff
   as unvaccinated; isolating and segregating the plaintiff; falsely classifying the
   plaintiff as "resigned" based on injection status; and refusing to recognize


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   plaintiff's rights of refusal, penalizing the plaintiff with two weeks of unpaid leave
   and then terminating the plaintiffs employment for attempting to exercise and
   enjoy rights that are protected by the ADA, which demonstrates that defendant
   retaliated against plaintiff because it perceived him as impaired.

   109. Plaintiff demands a jury trial.

   110. WHEREFORE, Plaintiff demands judgment against the defendant for
   compensatory damages and that the court declare that Defendant's
   discriminatory actions and/or violations as set forth in this Complaint violate Title
   I of the Americans with Disabilities Act under 42 U.S.C. §12101 and
   implemented under 29 CFR Part 1630 et sequitun

   111. And an order enjoining the defendant, along with its officers, agents, and
   employees, and all others in active concert or participation with them,from:

   112. Engaging in discriminatory acts and/or omissions against the plaintiff
   because of (perceived) disability; and an order enjoining the defendant from
   implementing practices and policies in a manner that is inaccessible to
   individuals with disabilities, specifically the plaintiff, within the meaning of Title
   of the ADA;

   113. And ordering defendant to:

   114. Comply with the requirements of Title I of the Americans with Disabilities
   Act, 42 U.S.C. §12101; and,

   115. Provide appropriate auxiliary aids and services; modify policies, practices,
   and procedures; and/or require alternative methods to ensure the accessibility
   of its premises and services to individuals with disabilities, specifically the
   plaintiff; and,



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   116. Take such affirmative steps as may be necessary to restore, as nearly as
   practicable, each identifiable victim of the defendant's discriminatory conduct to
   the position that plaintiff would have been in, but for the Defendant's conduct,
   beginning with the plaintiff; and,

   117. Take such affirmative steps as may be necessary to prevent the
   recurrence of any discriminatory conduct and to eliminate, to the extent
   practicable, the effects of such conduct.

   118. Award monetary damages to the plaintiff, in an appropriate amount for
   injuries suffered as the result of Defendant's failure to comply with the
   requirements of Title I of the ADA,42 U.S.C. §12101; and,

   119. Assess a civil penalty against the Defendant in an amount authorized by
   42 U.S.C. §12101 to vindicate the public interest and make the plaintiff whole;
   and.

   Order such other relief as the interests of justice may require.




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     120. COUNT II - COMPLAINT FOR DECLARATORY AND INJUNCTIVE
           RELIEF UNDER THE AMERICANS WITH DISABILITIES ACT
         Plaintiff, Andrew Kosiba, sues the defendant, CATHOLIC HEALTH
   SYSTEMS OF LONG ISLAND, INC., for Retaliation, Coercion, Interference and
   Intimidation and for declaratory and injunctive relief under Title I of the
   Americans with Disabilities Act as implemented under 29 CFR Part 1630, ei
   sequitur, and alleges the following:

                             JURISDICTION AND VENUE

    121. This court has original and exclusive jurisdiction under Title I of the
    Americans with Disabilities Act of 1990 and the Americans with Disabilities Act

    Amendments Act of 2008; 42 U.S.C. §12101 and 42 U.S.C. §12112(a),(b)and
   (d)(4) as it pertains to "Retaliation, Coercion, Threats and Interference"; as
    implemented by 29 CFR Part 1630.14(b)(3),(c)&(d) as it pertains to adverse
   employment actions, employers, medical examinations and interventions.

   122. Venue is proper in the Eastern District of New York pursuant to 28 U.S.C.
   §1391(b)(2) because Plaintiff resides in this District and a substantial part of the
   events or omissions giving rise to the claims occurred in this District.

   123. The incidents and facts giving rise to this complaint have occurred within
   the last one hundred eighty days. The plaintiff commenced a complaint against
   the defendant with the Equal Opportunity Employment Commission (EEOC)on
   or about the date of October 5, 2021.

                                       PARTIES

   124. Plaintiff, Andrew Kosiba, resides in Suffolk County, New York at the
   address of 33 Neal Path; South Setauket and is a qualified individual with a
   disability within the meaning of the ADA. The plaintiff is an employee of the
   defendant, which is a "covered entity" within the meaning of the Act.
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   125. The defendant's principal place of business is located at 110 Bi-County
   Blvd; Farmingdale, New York 11735.

                                   PLAIN STATEMENT

   126. The defendant perceived and mis-classified the plaintiff as impaired
   and unvaccinated and retaliated against the defendant upon this basis.
   The affirming adverse employment action of classifying the plaintiff as
   unvaccinated is that plaintiff was terminated on November 22, 2021 on the
   basis of being unvaccinated.



                             127. STATEMENTS OF FACT

   128. Plaintiff re-alleges each of the statements offact herein and the allegations
   contained in the preceding paragraphs and the plaintiff's supporting affidavit
   which is also re-alleged and incorporated herein by reference.

   129. Defendant and its agents: including, but not limited to, Christine Bracco
   refused to communicate with the plaintiff; refused to investigate the
   discrimination; refused to assist the plaintiff; refused to help him find a resolution
   to the discrimination or mitigate the harassment. They each interfered with
   plaintiff's rights under the ADA.

   130. The November 17, 2021 email (Exhibit A) clearly demonstrates that the
   defendant is regarding the plaintiff as disabled and is intending adverse
   employment actions if plaintiff does not get injected or submit to defendant's
   accommodation measures by the November 22"^, deadline. It does not mention
   plaintiff's right of refusal under EUA guidelines4, there is no mention of plaintiff


   ^ Title 21, Chapter 9 V, Part E §360bbb-3a. Emergency use of medical products

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   having the right to refuse the defendant's accommodations under the ADAS,
   there is no mention made of plaintiff having the right of informed consent.
   Defendant is interfering with the plaintiff's rights by obfuscation and by refusing
   to acknowledge them.

   131. On November 22, 2021, plaintiff is placed on a two week unpaid leave
   because defendant regards him as impaired and has taken adverse employment
   actions against him.

   132. Plaintiff was terminated as of November 22, 2021 under the disguise of
   being placed on unpaid leave, for being unvaccinated. There is no end-date
   when defendant will not consider plaintiff's unvaccinated classification therefore
   this letter must be seen for what it is: a letter of termination based upon
   perceived disability.

   133. Plaintiff also suffered the adverse employment action of choosing between
   taking an experimental drug, or other mitigation measures with no liability
   coverage or having his employment terminated without any diagnosis
   establishing that he is a direct threat and needs such medical treatment in the
   first place.

   134. The list of adverse employment actions taken by the defendant against the
   plaintiff such as: harassing the plaintiff with coercive and threatening emails;
   refusing to process plaintiffs discrimination claims; classifying the plaintiff as
   unvaccinated; isolating and segregating the plaintiff; falsely classifying the
   plaintiff as "resigned" based on injection status; and refusing to recognize
   plaintiffs rights of refusal, penalizing the plaintiff with two weeks of unpaid leave
   and then terminating the plaintiffs employment for attempting to exercise and

    29 CFR Part 1630.9(d)&(e)


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   enjoy rights that are protected by the ADA, which demonstrates that defendant
   retaliated against plaintiff because it perceived him as impaired.



                 ALLEGATIONS OF DEFENDANT'S VIOLATIONS
              OF TITLE I OF THE ADA,42 U.S.C.§12101 etsequitur.

   135. The ADA also prohibits employers from retaliating against individuals who
   oppose discriminatory activities or who make charges, testify, assist, or
   participate in any manner in an investigation, proceeding or hearing under the
   ADA, Title 42 U.S.C. § 12203 and 29 CFR Parts 1630.12(a) and (b) and Parts
   1630.13(b), (c),(d)and Part 1630.14(c), to wit:

   Retaliation

              § 1630.12 Retaliation and coercion.
              (a) Retaliation. It is unlawful to discriminate against any
              individual because that individual has opposed any act
              or practice made unlawful by this part or because that
              individual made a charge, testified, assisted, or
              participated in any manner in an investigation,
              proceeding, or hearing to enforce any provision
              contained in this part.
   136. The plaintiff was threatened to be terminated and was terminated because
   of his unvaccinated condition and has successfully stated a violation of the act
   simply because he has been subjected to an action prohibited under the law
   because of perceived physical impairment.

   137. The impairment experienced by the plaintiff in connection with his
   respiratory and immune systems is neither transitory nor minor from the
   defendant's point of view because the defendant has no end date when it will
   not regard this status as warranting termination.



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   138. Therefore the ruse of placing plaintiff on unpaid leave is also effectively
   termination because there is no end date.

   139. Nor can the defendant claim it was unaware of its own perception at the
   date of termination because the very basis for termination is the unvaccinated
   condition of the plaintiff and the attendant deficiencies associated with the
   plaintiffs respiratory and immune systems.

   140. Defendant adopted a new discriminatory policy and discriminated against
   the plaintiff based on perceived disability; when plaintiff opposed the unlawful
   policy, defendant retaliated against the plaintiff by terminating his employment
   through the ruse of classifying plaintiff as "resigned"; however, the evidence
   shows that plaintiff was terminated because he was deemed a direct threat
   without individualized   assessment and       because    he was classified     as

   unvaccinated.

   Coercion, interference or Intimidation

   § 1630.12

   (b) Coercion, interference or intimidation. It is unlawful to coerce, intimidate,
   threaten, harass or interfere with any individual in the exercise or enjoyment of,
   or because that individual aided or encouraged any other individual in the
   exercise of, any right granted or protected by this part.


   141. Additionally, the defendant has coerced, intimidated and interfered against
   the plaintiff by:

   142. a.) coercing the plaintiff to submit to the accommodation measures,
   medical interventions and examinations and other health control measures,
   even though the defendant was duly advised by the plaintiff that the plaintiff was
   not subject to any health control measures by any court orders, and that the


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   defendant was not empowered by any court order or other legal duty to impose
   such interventions, examinations or control measures upon the plaintiff®; and,
   143. b.) allowing other employees to coerce, intimidate or verbally ridicule and
   abuse the plaintiff in violation of the defendant's duty of care; and,

   144. c.)threatening the plaintiff with the termination of his employment and,

   145. d.)threatening the plaintiff with exclusion because of his disability.

   146. Defendant coerced the plaintiff on many occasions by demanding plaintiff
   submit to experimental medical treatments without first performing an
   individualized assessment to gather the medical evidence necessary to base
   such a "demand" upon.

   147. Defendant effectively coerced the plaintiff by refusing to provide a
   risk/benefit analysis as required for true informed consent; and refused to
   recognize the plaintiff's right to refuse medical treatment or participate in a
   clinical study, thus interfering with plaintiff's enjoyment of protected rights.

   148. Defendant interfered with the exercise and enjoyment of plaintiffs rights
   by refusing to document the discrimination, process his opposition to the
   prohibited practices or aid the plaintiff in the enjoyment of his rights.

   149. Defendant interfered with plaintiffs enjoyment of his rights under the ADi^
   by providing employer "COVID-19 Vaccinations" forms which offered only
   medical or religious exemption as the available "opt-out" choices. This interfered
   with plaintiff's ADA rights because it limited plaintiffs right to invoke ADA
   protections under the 'regarded as" prong, including without limitation, the righl




   ^Chapters 1.23 through 1.43 of the New York State Public Health Manual.

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   to be free of discrimination and retaliation based upon disability, such as being
   terminated or segregated because of one's physical condition.

    150. The EEOC has offered guidance on interference and states:

                    "Examples of interference include: issuing a policy or
                    requirement that purports to limit an employee's rights to
                    invoke ADA protections (e.g., a fixed leave policy that
                    states 'no exceptions will be made for any reason');"?


   151. Defendant interfered with plaintiff's rights by then classifying plaintiff as
   noncompliant when plaintiff notified the defendant that plaintiff was exercising
   his rights of refusal based upon his rights under the ADA and informed consent.

   152. Defendant deceptively tried to persuade plaintiff that his only remedy to
   the illegal policy demands would be to ask for a medical or religious exemption
   from these discriminatory policies and practices, thereby creating a false record
   that is without legal merit and creates a substantial prejudice against the plaintifl
   to seek a remedy in court.

   153. Defendant only presented a medical or religious exemption, and did not
   mention that ADA accommodations are available; which is obfuscation of and
   interference with the exercise and enjoyment of plaintiffs rights held under the
   ADA, particularly 42 USC 12203(b)and 29 CFR 1630.12(b).

   No Undue Burden

   154. The defendant has failed to demonstrate any facts constituting any undue
   burden it would incur because of plaintiff's choice to refuse the accommodations
   offered by the defendant. Defendant cited no facts including:


   ^ https://www.eeoc.gov/laws/guidance/questions-and-answers-enforcement-guidance-retaliation-and-
   related-issues


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       29 CFR Part 1630 et sequitur.
               (i) The nature and net cost of the accommodation
               needed under this part, taking into consideration the
               availability of tax credits and deductions, and/or outside
               funding;
               (ii) The overall financial resources of the facility or
               facilities involved in the provision of the reasonable
               accommodation, the number of persons employed at
               such facility, and the effect on expenses and resources;
               (iii) The overall financial resources of the covered entity,
               the overall size of the business of the covered entity with
               respect to the number of its employees, and the number,
               type and location of its facilities;
               (iv) The type of operation or operations of the covered
               entity, including the composition, structure and functions
               of the workforce of such entity, and the geographic
               separateness and administrative or fiscal relationship of
               the facility or facilities in question to the covered entity;
               and

               (v)The impact of the accommodation upon the operation
               of the facility, including the impact on the ability of other
               employees to perform their duties and the impact on the
               facility's ability to conduct business.


   No Fundamental Alterations

   155. The defendant has failed to demonstrate how the plaintiff's refusal to
   accept the defendant's accommodations would have fundamentally altered the
   manner in which the defendant carried out its usual operations; in fact, the
   defendant has already substantially altered the manner in which it normally
   carries out its operations by attempting to force its accommodations against the
   will of all of its employees.




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   No Safety Risk

   156. The defendant has failed to identify any legitimate safety requirements thai
   would be necessary for the safe operation of its business. It has failed to identify
   or demonstrate any safety requirements pertaining to the accommodations thai
   are based on actual risks and not on mere speculation, stereotypes, or
   generalizations about individuals with disabilities.

   Harm and Injury suffered by the plaintiff.

   157. The injury suffered by the plaintiff is thereby concrete and particularized
   and it is actual and imminent. The injury alleged in the complaint, including the
   pleading and exhibits, clearly sets forth a set of facts that actually occurred and
   are not conjectural or hypothetical. The injury described therein is at least fairly
   traceable to the challenged action, conduct and policies of the defendant.

   158. The harm (injury) already suffered by the plaintiff includes, but is nol
   limited to, having to choose between waving medical privacy rights, and
   submitting to medical interventions and examinations without the benefits o1
   informed consent, and being regarded as if he has a contagious disease withoul
   any individualized assessment according to any medical or scientific standards
   or having his employment terminated.

   159. Once violated, these rights cannot be recovered. The medical privacy
   rights are the plaintiffs intangible property rights which are not required to be
   waived as a condition of employment and include the right to refuse to participate
   in any epidemiological experiments or clinical trials.

   160. Defendant's policies demonstrate soundly and convincingly, that its
   policies inflict future harm against the plaintiff who is regarded as having a
   disability or invisible disability and that the defendant fully intends to continue


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   these policies and that the defendant fully intends to retaliate and continue
   retaliating against the plaintiff as alleged herein.

   161. The defendant continues to discriminate against the plaintiff in violation o1
   each of the foregoing sections. Among other things, this law prohibits the
   defendant from requiring medical examinations or making disability-related
   inquiries of the plaintiff unless such examination or inquiry is shown to be job-
   related and consistent with business necessity. The defendant is entitled only
   to the information necessary to determine whether the plaintiff can perform the
   essential functions of the job with or without reasonable accommodations
   without posing a direct threat. The defendant has failed or refused to comply
   with this law, even making the outrageous claim that the plaintiff can either
   submit to complying with the accommodations or have his employment
   terminated, regardless of the defendant's legal duties or the law.

   162. It is important to note that none of the personnel in human resources that
   were involved in this matter ever once cited any legal authority thai
   countermands the ADA.

   163. Furthermore, defendant never cited any legal authority or obligation thai
   has created any new duty of care or insurable risk to impose the discriminatory
   policies.

   164. Furthermore, the defendant failed to identify any insurable risk for
   engaging in the administration of medical examinations, interventions or
   protecting anyone from what is being claimed as a "pandemic" or "public health
   danger".

   165. Additionally, defendant fails to cite any insurable risk for the same or for
   those suffering any adverse health consequences as a result of complying with


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   the accommodations administered by unlicensed, untrained, uninsured and un
   equipped employees of the defendant.

   166. Even one's own licensed and insured physician requires informed consent
   as a condition of administering any medical examination or intervention upon
   the patient. No laws have changed and the defendant is without any legal
   authority or obligation to engage in these practices, and especially engage in
   harassment, discrimination and retaliation in violation of federal law.

   167. As a result of Defendant's actions the plaintiff has experienced
   discrimination, segregation, isolation, retaliation, coercion, interference, loss of
   wages and termination and disruption in his career.

   168. Plaintiff demands a jury trial.

   169. WHEREFORE, Plaintiff demands judgment against the defendant for
   compensatory damages and that the court declare that Defendant's retaliatory,
   coercive, interfering and intimidating actions and/or violations as set forth in this
   Complaint violate Title I of the Americans with Disabilities Act under 42 U.S.C.
   §12101 and implemented under 29 CFR Part 1630 etsequitur,

   170. And an order enjoining the defendant, along with its officers, agents, and
   employees, and all others in active concert or participation with them,from:

   171. Engaging in retaliation, coercion, interference and intimidation and/or
   omissions against the plaintiff because of his disability; and an order enjoining
   the defendant from implementing practices and policies in a manner that is
   inaccessible to individuals with disabilities, specifically the plaintiff, within the
   meaning of Title I of the Americans with Disabilities Act(ADA);

   172. And ordering defendant to:



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   173. Comply with the requirements of Title I of the Americans with Disabilities
   Act, 42 U.S.C. §12101; and,

   174. Provide appropriate auxiliary aids and services; modify policies, practices,
   and procedures; and/or require alternative methods to ensure the accessibility
   of its premises and services to individuals with disabilities, specifically the
   plaintiff; and,

   175. Take such affirmative steps as may be necessary to restore, as nearly as
   practicable, each identifiable victim of the defendant's discriminatory conduct to
   the position that he would have been in, but for the Defendant's conduct,
   beginning with the plaintiff; and,

   176. Take such affirmative steps as may be necessary to prevent the
   recurrence of any retaliation, coercion, interference and intimidation and to
   eliminate, to the extent practicable, the effects of such conduct.

   177. Award monetary damages to the plaintiff, in an appropriate amount for
   injuries suffered as the result of Defendant's failure to comply with the
   requirements of Title I of the ADA,42 U.S.C. §12101; and,

   178. Assess a civil penalty against the Defendant in an amount authorized by
   42 U.S.C. §12101 to vindicate the public interest and make the plaintiff whole;
   and,

   179. Order such other relief as the interests of justice may require.




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         180. COUNT III - COMPLAINT FOR WRONGFUL TERMINATION
                                  OF EMPLOYMENT


   181. The plaintiff, Kosiba, sues the defendant, CATHOLIC HEALTH SYSTEMS
   OF LONG ISLAND, INC., for wrongful termination of employment and alleges
   the following:

                            JURISDICTION AND VENUE

   182. The Eastern District Court has original jurisdiction over claims for wrongful
   termination for employment and related employment agreements.

   183. The plaintiff resides in Nassau County and his mailing address is 33 Neal
   Path; South Setauket, New York.

   184. The defendant is a resident in the state of New York, with its principal place
   of business is located at 110 Bi-County Blvd; Farmingdale, New York 11735.

   185. The material facts for all times material to this complaint took place in
   Nassau County, New York.

                                STATEMENTS OF FACT

   186. On the date of November 22, 2021, the plaintiff's employment was
   terminated without notice.

   187. The plaintiff advised the defendant on several occasions by documenting
   the harassment and coercion via plaintiff's confidential communications filed
   with the Human Resources.

   188. This documentation addressed the fact that defendant's actions were not

   legal and not binding upon the plaintiff and that the defendant had no duty to act
   under these new terms.           True and correct copies of these written
   communications are attached as Exhibit A.



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   189. The defendant ignored the plaintiff, refused to do an intake, falsely
   declared plaintiff has "resigned" and terminated his employment for
   discriminatory reasons on November 22, 2021. The communications exhibited
   with this complaint are included as Exhibit A.

   190. Defendant is not a licensed physician and not supervised under any
   licensed physician yet wants to impose a medical intervention upon the plaintifl
   as a condition for employment in violations of the plaintiff's right to informed
   consent and Americans with Disabilities Act.

   191. Defendant stated that while it may require a forced medical intervention
   without any medical qualification or licensing, the plaintiff is somehow required
   to get permission from a licensed physician in order to exercise his right to
   informed consent. Why does the plaintiff need a licensed physician to exercise
   his right to informed consent and the defendant does not need any licensed
   physician to violate plaintiff's rights regarding medical interventions?

                                    ALLEGATIONS

   192. Plaintiff re-alleges the foregoing and incorporates each fact herein and
   further alleges as follows,

   193. The plaintiff's employment was wrongfully terminated by the defendant for
   discriminatory reasons.

   194. Upon defendant's change in the employment conditions purportedly
   requiring the plaintiff to get EUA injections, wear a mask while working, and other
   mitigation measures, plaintiff was suddenly expected to waive his rights to
   informed consent on the unfounded presumption that the plaintiff had an
   impaired immune system, impaired respiratory system, and was a carrier of a



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   contagious disease, ail without having first made any individualized assessment
   as to whether or not the plaintiff was a direct threat to anyone.

   195. Beginning from the date the plaintiff was hired, plaintiff has been
   compensated for his labor and the services he has provided the defendant at
   regular intervals. Plaintiff had a reasonable expectation to continue working for
   the defendant. The defendant's termination of the plaintiff's employment was in
   violation of the employment contract and was made without notification or
   adequate notification to the plaintiff.

   196. The terms of the job description are alleged herein and include the written
   policies of the defendant, a true and correct copy of which is attached as Exhibit
   C.

   197. The conditions of plaintiff's employment with the defendant did not require
   the defendant to waive any of his rights.

   198. The conditions of the plaintiff's employment with the defendant did not
   require the plaintiff to accept the defendant's medical advice.

   199. The conditions of the plaintiff's employment with the defendant did not
   include terms that allowed the defendant to engage in the unlicensed practice o1
   medicine and the defendant is not insured or otherwise indemnified for practicing
   medicine.

   200. The conditions of the plaintiff's employment with the defendant did not
   include terms that made the defendant the plaintiff's physician or otherwise
   require the plaintiff to act upon medical advice given by the defendant.

   201. Plaintiffs employment was wrongfully terminated in retaliation for
   exercising his rights under the ADA. Also, the plaintiff has certain intangible
   private property rights which include the right to care for his own health and

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   choose his own physician and health care practices while also avoiding habits
   and practices that the plaintiff believes might ruin or risk his good health.

   202. The plaintiff also has the intangible private property right to make decisions
   that affect his health with informed consent; that is, plaintiff has a right to review
   all risk and benefit analyses and results from relevant clinical studies prior to
   making any decision to adopt new practices regarding his health.

   203. The defendant refused to comply with the law and violated the plaintiff's
   property rights, specifically those enumerated under the state's Patient's Bill of
   Rights and informed consent.

   204. Defendant is an employer and prohibited from firing or otherwise retaliating
   against employees, specifically the plaintiff, who report workplace safety
   violations or participate in investigations into such violations.

   205. New conditions of employment violated the Americans with Disabilities Act
   and involved the defendant's conduct which included imposing mitigation
   measures and retaliation in violation of the ADA.

   206. New conditions of employment violated the long-standing safety standards
   adopted by the Occupational Safety and Health Administration and involved the
   defendant's conduct which included imposing medical interventions in violation
   of the law prohibiting the unlicensed practice of medicine.

   207. Plaintiffs employment was also wrongfully terminated because the plaintiff
   refused to accept a medical intervention sought to be imposed by the defendanf
   where such medical intervention was not permitted to be imposed by law or to
   be imposed by the defendant and violated the plaintiff's right to informed
   consent.




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   208. As a direct and proximate result of the defendant's actions, the plaintiff's
   employment was wrongfully terminated by the defendant.

   209. The defendant's actions were willful and negligent.             After plaintiff's
   objections and attempts to re-mediate the defendant on the law and his rights,
   the defendant continued violating the law and violating the plaintiff's rights as
   alleged herein.

   210. The defendant did not act under color of law or claim of lawful authority
   The defendant had no legal duty to require the plaintiff to undertake anv medical
   Intervention much less purportedly requiring the plaintiff to get injections, submil
   tissue samples or wear a surgical mask or mask of any kind as a new condition
   of his employment.

   211. The plaintiff was not acting under any authority of law or court order.
   Again, the defendant was under no legal duty to violate the law as alleged
   herein, and no authority or court order permitted the defendant to violate the law
   or violate the plaintiff's rights as alleged herein. The plaintiff never waived any o1
   his rights at any time.

   212. No employee or agent of the defendant is licensed, competent or
   authorized to give medical advice, such as requiring employees such as the
   defendant to get injections, wear a mask, or submit to temperature or tissue
   testing.

   213. Additionally, neither the defendant nor any of its employees or agents are
   insured or indemnified to collect tissue samples or interpret vital statistics (nasal
   swabs and temperature readings which can lead to being quarantined without
   due process).




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   214. Defendant has no authority to require the plaintiff to act upon its medical
   advice (injections, masks); disclose his vital statistics (temperature); or submit
   to any medical examination by giving tissue samples (nasal testing) as a new
   condition of the plaintiff retaining his employment with the defendant.

   215. The defendant is not authorized to violate the rights of the plaintiff, nor is
   the defendant required to break the law, or operate beyond its charter as a new
   condition of the plaintiff's employment that was never considered at the time he
   was hired.

   Plaintiff demands a jury trial.

   216. WHEREFORE plaintiff demands judgment against the defendant for
   wrongful termination together with costs and attorney fees and other relief as
   this court deems appropriate.

                              COUNT IV - LOST WAGES

   217. Plaintiff re-alleges the foregoing and incorporates each fact herein and
   further alleges as follows,

   218. Plaintiff was wrongfully terminated on the date of November 22, 2021 and
   based upon his rate of compensation, the plaintiff is entitled to lost wages in the
   approximate amount of and based upon her yearly rate of compensation, the
   plaintiff is entitled to a minimum of lost wages in the approximate amount of one
   hundred ten thousand dollars($110,000) not including additional benefits which
   may be calculated by the court, plus interest as calculated by the laws of the
   State of New York.

   219. WHEREFORE plaintiff demands judgment against the defendant for lost
   wages in the amount of $110,000 as alleged herein, together with costs and
   attorney fees and other relief as this court deems appropriate.

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                       COUNT V - BREACH OF CONTRACT

   220. Plaintiff re-alleges the foregoing and incorporates each fact herein and
   further alleges as follows,

   221. It was an employment contract that was commenced between the plaintiff
   and defendant in November of 2000 with an offer of employment and continued
   without interruption until plaintiff's employment was terminated as alleged
   herein.

   222. The Plaintiff's job title was Physical Therapist and he was paid $110,000
   per year.

   223. In addition to the regular remuneration paid by the defendant to the plaintiff
   as alleged, the defendant provided the plaintiff with annual incentive bonus as
   an additional benefit under the employment agreement.

   224. WHEREFORE plaintiff demands judgment against the defendant in the
   amount of no less than the amount of $110,00 plus costs and attorney fees and
   other relief as this court deems appropriate.


                  COUNT VI - BREACH OF IMPLIED CONTRACT

   225. Plaintiff re-alleges the foregoing and incorporates each fact herein and
   further alleges as follows,

   226. It was an employment contract that was commenced between the plaintiff
   and defendant in November of 2000 with an offer of employment and continued
   without interruption until plaintiff's employment was terminated as alleged
   herein.




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   227. The Plaintiffs job title was Physical Therapist and he was paid $110,00
   per yearly.

   228. In addition to the regular remuneration paid by the defendant to the plaintifi
   as alleged, the defendant provided the plaintiff with annual incentive bonus as
   an additional benefit under the employment agreement.

   229. WHEREFORE plaintiff demands judgment against the defendant in the
   amount of no less than the amount of $110,000 plus costs and attorney fees and
   other relief as this court deems appropriate.



   DATED this       day of December 2021.
                                                             Andrew Kosiba, Plaintiff




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